   Case 7:25-mj-01028      Document 10   Filed on 05/08/25 in TXSD   Page 1 of States
                                                                        United 1      Courts
                                                                       Southern District of Texas
                     UNITED STATES DISTRICT COURT                               FILED
                      SOUTHERN DISTRICT OF TEXAS                            May 08, 2025
                          MCALLEN DIVISION
                                                                     Nathan Ochsner, Clerk of Court



United States of America                  §
                                          §
versus                                    §               Case No. 7:25−mj−01028
                                          §
Kinzey Lia                                §



                ORDER OF TEMPORARY DETENTION
          PENDING HEARING PURSUANT TO BAIL REFORM ACT

          Upon motion of the GOVERNMENT, it is ORDERED that a detention
hearing is set for May 13, 2025, at 10:30 AM before United States
Magistrate Judge Nadia S Medrano at 1701 W. Bus. Hwy. 83, McAllen,
Texas 78501. Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for this hearing.




Date of order: May 8, 2025
